      Case 2:12-cr-00107-MEF-CSC Document 26 Filed 09/04/12 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )          CASE NO. 2:12-cr-107-MEF
                                           )                     (WO)
JAMES E. POTTS and                         )
LELAND J. McDOWELL                         )

                                     ORDER

      Upon consideration of the Second Unopposed Motion to Continue (Doc. #25) filed

by defendant Leland J. McDowell on August 30, 2012, it is hereby

      ORDERED that the motion is GRANTED. The trial of this case set for March 25,

2013 is continued to the criminal term of court commencing on April 1, 2013.

      DONE this the 4th day of September, 2012.



                                                     /s/ Mark E. Fuller
                                               UNITED STATES DISTRICT JUDGE
